

Matter of Ward v Brown (2018 NY Slip Op 05769)





Matter of Ward v Brown


2018 NY Slip Op 05769


Decided on August 15, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 15, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

SANDRA L. SGROI, J.P.
JOSEPH J. MALTESE
FRANCESCA E. CONNOLLY
LINDA CHRISTOPHER, JJ.


2017-12721	DECISION, ORDER &amp; JUDGMENT

[*1]In the Matter of J'Min Ward, petitioner, 
vCraig Brown, etc., respondent. J'Min Ward, Goshen, NY, petitioner pro se.


Barbara D. Underwood, Attorney General, New York, NY (Jonathan D. Conley of counsel), for respondent.



Proceeding pursuant to CPLR article 78 in the nature of prohibition, inter alia, to prohibit the enforcement of a judgment of conviction rendered March 5, 2018, in a criminal action entitled People v Ward,  commenced in the County Court, Orange County, under Indictment No. 325/17, and application by the petitioner for poor person relief.
ORDERED that the application for poor person relief is granted to the extent that the filing fee imposed by CPLR 8022(b) is waived, and the application is otherwise denied; and it is further,
ADJUDGED that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
"Because of its extraordinary nature, prohibition is available only where there is a clear legal right, and then only when a court—in cases where judicial authority is challenged—acts or threatens to act either without jurisdiction or in excess of its authorized powers" (Matter of Holtzman v Goldman , 71 NY2d 564, 569; see Matter of Rush v Mordue , 68 NY2d 348, 352). The petitioner has failed to demonstrate a clear legal right to the relief sought.
SGROI, J.P., MALTESE, CONNOLLY and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








